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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

ALEXANDER JOHNSON,

           Plaintiff,

v.                                    Case No: 2:14-cv-682-FtM-29DNF

JAY VARAHIMATA INVESTMENTS,
LLC.,   a  Florida  limited
liability company,

           Defendant.


                                  ORDER

     This matter comes before the Court on the parties' Joint

Stipulation   of   Dismissal   With   Prejudice   (Doc.   #20)    filed   on

February 16, 2015. The parties have agreed to the dismissal of

this case in its entirety, and a case is deemed dismissed upon the

filing of such a stipulation.         Anago Franchising, Inc. v. Shaz,

LLC, 677 F.3d 1272 (11th Cir. 2012).

     Accordingly, it is hereby

     ORDERED AND ADJUDGED that the Clerk is directed to terminate

all previously scheduled deadlines and pending motions and close

the case pursuant to the parties’ stipulation.

     DONE and ORDERED at Fort Myers, Florida, this               17th     day

of February, 2015.




Copies:   Counsel of Record
